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           USCA11 Case: 21-11648 Date Filed: 02/02/2022 Page: 1 of 2
                                          In the
                     United States Court of Appeals
                               For the Eleventh Circuit
                                 ____________________

                                       No. 21-11648
                                 ____________________




           HENRY RAY CAMPBELL,
                                                            Plaintiff-Appellant,
           versus
           ADVANCED CORE CONCEPTS LLC,


                                                          Defendant-Appellee.


                                 ____________________

                        Appeal from the United States District Court
                            for the Middle District of Georgia
                           D.C. Docket No. 5:20-cv-00360-MTT
                                 ____________________

                                       JUDGMENT




ISSUED AS MANDATE 02/02/2022
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           It is hereby ordered, adjudged, and decreed that the opinion is-
           sued on this date in this appeal is entered as the judgment of this
           Court.
                                  Entered: January 4, 2022
                        For the Court: DAVID J. SMITH, Clerk of Court




ISSUED AS MANDATE 02/02/2022
